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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 18-824V
                                      (not to be published)

    ************************* *
                                *
    MARY LIGOURI,               *
                                *
                                *                          Filed: April 16, 2021
                    Petitioner, *
                                *
    v.                          *
                                *                          Entitlement; Decision by Proffer;
                                *                          Damages; Influenza (“Flu”) Vaccine;
    SECRETARY OF HEALTH AND     *                          Guillain-Barré syndrome
    HUMAN SERVICES,             *
                                *
                                *
                    Respondent. *
                                *
    ************************* *

Andrew Downing, Van Cott & Talamante, PLLC, Phoenix, AZ, for Petitioner
Sarah Duncan, U.S. Department of Justice, Washington, DC, for Respondent


                               DECISION AWARDING DAMAGES1

        On June 12, 2018, Mary Ligouri (“Petitioner”) filed a petition, seeking compensation under
the National Vaccine Injury Compensation Program (“the Vaccine Program”).2 Pet., ECF No. 1.
Petitioner alleges that she developed Guillain-Barré syndrome as a result of the influenza (“flu”)
vaccination she received on January 3, 2018. See Proffer at 1, ECF No. 58; see also Pet.



1
 Because this Decision contains a reasoned explanation for my actions in this case, I will post it on the
United States Court of Federal Claims website, in accordance with the E-Government Act of 2002, 44
U.S.C. § 3501 (2012). This means the Decision will be available to anyone with access to the internet.
As provided by 42 U.S.C. § 300aa-12(d)(4)(B), however, the parties may object to the Decision’s inclusion
of certain kinds of confidential information. Specifically, under Vaccine Rule 18(b), each party has fourteen
days within which to request redaction “of any information furnished by that party: (1) that is a trade secret
or commercial or financial in substance and is privileged or confidential; or (2) that includes medical files
or similar files, the disclosure of which would constitute a clearly unwarranted invasion of privacy.”
Vaccine Rule 18(b). Otherwise, the whole Decision will be available to the public. Id.
2
 The Vaccine Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, Pub. L.
No. 99-660, 100 Stat. 3755 (codified as amended at 42 U.S.C. §§ 300aa-10–34 (2012)) (hereinafter
“Vaccine Act” or “the Act”). All subsequent references to sections of the Vaccine Act shall be to the
pertinent subparagraph of 42 U.S.C. § 300aa.
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       On April 20, 2020, Petitioner filed an expert report from Dr. Peter-Brian Andersson, a
board-certified neurologist, which addressed Petitioner’s symptoms prior to her January 3, 2018
vaccination. Ex. 17.

On October 2, 2020, in an Amended Rule 4(c) Report, Respondent stated his position is that
“petitioner has now satisfied the criteria set forth in the Vaccine Injury Table and QAI, which
afford[s] petitioner a presumption of causation if the diagnosis of GBS is sound; the onset of GBS
occurs between three and forty-two days after a seasonal flu vaccination; and, there is no identified
more likely alternative diagnosis.” Am. Resp’t’s Rep. at 2-3; see also 42 C.F.R. §
100.3(a)(XIV)(D), (c)(15). Respondent requested a ruling on the record regarding Petitioner’s
entitlement to compensation. I issued a Ruling on Entitlement on April 15, 2021. ECF No. 57.

      Respondent filed a proffer on April 16, 2021 (ECF No. 58), agreeing to issue the following
payments:

       1. A lump sum payment of $182,263.85 paid in the form of a check to Petitioner;
          $175,000.00 for actual and projected pain and suffering, and $7,263.85 for past
          unreimbursable expenses related to [Petitioner’s] vaccine-related injury.

       These amounts represent all elements of compensation for all damages that would be
available under § 300aa-15(a).

       I adopt the parties’ proffer attached hereto, and award compensation in the amount and on
the terms set forth therein. I, therefore, award compensation in the amount of a lump sum
payment of $182,263.85, in the form of a check payable to Petitioner, Mary Ligouri. The
Clerk of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                              s/ Katherine E. Oler
                                                              Katherine E. Oler
                                                              Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

                                                    )
 MARY LIGOURI,                                      )
                                                    )
                Petitioner,                         )
                                                    )    No. 18-824V
 v.                                                 )    Special Master Oler
                                                    )    ECF
 SECRETARY OF HEALTH AND HUMAN                      )
 SERVICES,                                          )
                                                    )
                Respondent.                         )
                                                    )

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On June 12, 2018, Mary Ligouri (“petitioner”), filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), as amended. Petitioner alleged that she suffered an adverse reaction, to include

Guillain-Barré syndrome (“GBS”), as a result of an influenza (“flu”) vaccine administered to her

on January 3, 2018. Petition at 1. On May 28, 2019, respondent filed his Rule 4(c) Report

recommending against an award of compensation for a presumptive (Table) injury of GBS

following a flu vaccine, because at the time of his recommendation, it appeared that symptoms

attributable to her GBS preceded the vaccination at issue. See ECF No. 25. On April 20, 2020,

petitioner filed the report of Dr. Peter-Brian Andersson, a board-certified neurologist,

specifically addressing the issue of petitioner’s symptoms leading to her hospitalization on

January 2, 2018, and prophylactic flu vaccination. See ECF No. 36-1. On October 2, 2020,

respondent filed an Amended Rule 4(c) Report recommending that compensation be awarded.

ECF No. 45. On April 15, 2021, the Special Master issued a Ruling on Entitlement finding

petitioner entitled to compensation. ECF No. 57.
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I.        Items of Compensation

          A.       Pain and Suffering

          Respondent proffers that petitioner should be awarded $175,000.00 in actual and

projected pain and suffering. This amount reflects that any award for projected pain and

suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.

          B.       Past Unreimbursable Expenses

          Evidence supplied by petitioner documents Mary Ligouri’s expenditure of past

unreimbursable expenses related to her vaccine-related injury. Respondent now proffers that,

based on the Special Master’s entitlement decision and the evidence of record, petitioner should

be awarded past unreimbursable expenses in the amount of $7,263.85, as provided under the

Vaccine Act, 42 U.S.C. § 300aa-15(a)(1)(B). Petitioner agrees.

          These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.       Form of the Award

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Special Master’s decision and the

Court’s judgment award the following1: a lump sum payment of $182,263.85, representing

compensation for pain and suffering ($175,000.00), and past unreimbursable expenses

$7,263.85), in the form of a check payable to petitioner, Mary Ligouri.



1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                   2
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III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Mary Ligouri:                          $ 182,263.85

                                          Respectfully submitted,

                                          BRIAN M. BOYNTON
                                          Acting Assistant Attorney General

                                          C. SALVATORE D’ALESSIO
                                          Acting Director
                                          Torts Branch, Civil Division

                                          HEATHER L. PEARLMAN
                                          Acting Deputy Director
                                          Torts Branch, Civil Division

                                          DARRYL R. WISHARD
                                          Assistant Director
                                          Torts Branch, Civil Division

                                          s/ Sarah C. Duncan
                                          SARAH C. DUNCAN
                                          Trial Attorney
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DATED: April 16, 2021




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